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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 DONNA HEDGES,                                                 :
                                              Plaintiff,       :
                                                               :     20 Civ. 6086 (LGS)
                            -against-                          :
                                                               :           ORDER
                                                               :
 FLORIDA TECH, INC.,                                           :
                                              Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this

case. Accordingly, it is hereby ORDERED that this action is dismissed without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty (30) days of this Order. Any application to reopen filed

after thirty (30) days from the date of this Order may be denied solely on that basis. Any

pending motions are DENIED as moot, and all conferences and deadlines are CANCELED.

Dated: October 15, 2020
       New York, New York
